
PER CURIAM.
This is an appeal from a final judgment awarding a real estate brokerage commission.
*300On March 4, 1974 appellant Gertrude Moore and her husband executed a multiple listing agreement whereby they agreed to pay Sky Realty, Inc. a 7V2% real estate commission if it could procure a purchaser to buy their home for $55,000. On May 9 Sky Realty procured Mr. and Mrs. Spital-nick who made an offer of $53,000. The Moores turned it down. On the next morning (May 10) the Spitalnicks went to the office of Sky Realty and made an offer of $55,000 cash. This offer was immediately communicated to the Moores. They refused to accept and sent a telegram dated May 11 instructing Sky Realty to take their house off the market. Sky Realty then sued for the 7V2% commission and the cause proceeded to a non-jury trial. The judge found for Sky Realty and entered a final judgment in its favor for $4,125 plus interest.
Although appellant raises nine points on appeal, she has failed to present to this court a transcript of testimony. This court is required to affirm where an appellant fails to bring up the transcript of testimony given at a final hearing and that testimony forms the major evidentiary support for the trial court’s findings and ruling. Veterans Loan Authority v. Danzo, 210 So.2d 461 (Fla.3d DCA 1968).
Affirmed.
